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                   UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

In re:                            )          Chapter 7
                                  )
          MICHAEL BILLON,         )          No. 20 B 4921
                                  )
                          Debtor. )          Judge Goldgar


                         ORDER OF CIVIL CONTEMPT

         This chapter 7 case came before the court on May 1, 2020, in accordance

with the court’s order dated April 17, 2020. That order required Attorney

Gregory J. Jordan to appear and show cause why he should not be denied

compensation for services and required to refund any compensation received.

See 11 U.S.C. § 329. Jordan failed to appear as ordered. For the reasons

stated on the record in open court, it is HEREBY ORDERED:

         1. Gregory J. Jordan is held in civil contempt for failing to comply with

the court’s order dated April 17, 2020.

         2. Jordan may purge the contempt by appearing on May 22, 2020, at

11:15 a.m. and complying with the remainder of the April 17 order.

         3. This matter is set for further hearing on May 22, 2019, at 11:15 a.m.,

to determine whether Jordan has purged the contempt.

         4. If the court determines that Jordan has not purged the contempt,

the court will order the United States Marshal to attach the body of Jordan
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and confine him in the Metropolitan Correctional Center until he purges the

contempt.

Dated: May 1, 2020




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